                                 Local Sample Required Form No. 1


                                           DECLARATION




Debtor(s)' Name(s)




       I, _.:;,.__,_L.',-c~~~~__...._!_..:__:...__ _ , do hereby certify, under penalty of perjury, that the

Mailing List, consisting of           sheet(s), is complete, correct and consistent with the debtor(s)'

schedules.




                                                         (Debtor)


         (Attorney, if applicable)                       (Spouse)




mmlrequirements/10/06




                                                                                                  MML-4



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Cherissa Shannon Tate

State of Arizona Bankruptcy Court




       of Creditors

  red         r Inform              n

Scott Clark Law

3008 N. 44th Street

Phoenix, AZ 85018




CREDIT ACCEPTANCE CORPOR

PO BOX 5070 CREDIT DISPUTE DEPT

SOUTHFIELD, Ml 48086

(248) 353-2700




CAINE & WEINER

PO BOX 55848

SHERMAN OAKS, CA 91413

(818) 226-6000




JEFFERSON CAPITAL SYSTEM

16 MCLELAND RD

SAINT CLOUD, MN 56303

(866) 219-0725




Jefferson Capital Systems, LLC

16 Mcleland Rd

Saint Cloud, MN 56303 1-833-851-5552




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Village at Lakewood Rental Office

15815 S Lakewood Pkwy W, Phoenix, AZ 85048

Phone: (480) 642-9700



SRP Customer Correspondence

Customer Communications Services, CUB363

P.O. Box 52025

Phoenix, AZ 85072-2025



Xcel Energy

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Minneapolis, MN 55484-9477




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